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                              UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

  In Re:                                                     CHAPTER 13

  NORMANDY MESHON HUFF                                       CASE NO. 19-50672 - WLH
  a/k/a Normandy Huff
  a/k/a Normandy M. Huff,
                          Debtor.



  ALLY BANK, ITS SUCCESSORS OR
  ASSIGNS,
                         Movant,                             CONTESTED MATTER*

  V.

  NORMANDY MESHON HUFF
  a/k/a Normandy Huff
  a/k/a Normandy M. Huff, Debtor
  NANCY J. WHALEY, Chapter 13 Trustee,

                                    Respondents.

“Given the current public health crisis, hearings may be telephonic only. Please check the “Important
Information Regarding Court Operations During COVID-19 Outbreak” tab at the top of the GANB Website
prior to the hearing for instructions on whether to appear in person or by phone.”
http://www.ganb.uscourts.gov/important-information-regarding-court-operations-during-covid-19-outbreak


                             NOTICE OF ASSIGNMENT OF HEARING

        PLEASE TAKE NOTICE that Ally Bank (“Movant”), has filed a Motion for Relief from the

Automatic Stay and related papers with the Court seeking an order granting relief from the automatic

stay.

        PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion for

Relief from the Automatic Stay in United States Bankruptcy Courthouse, Richard B. Russell

Federal Building, 75 Ted Turner Drive, SW, Atlanta, GA 30303, Courtroom 1403 at 10:45 A.M.

on March 31, 2021. Your rights may be affected by the Court's ruling on these pleadings. You should

read these papers carefully and discuss them with your attorney, if you have one in this bankruptcy
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case. (If you do not have an attorney, you may wish to consult one.) If you do not want the Court to

grant the relief sought in these pleadings, or if you want the Court to consider your views, then you

and/or your attorney must attend the hearing. You may file a written response to the pleading with the

Clerk at the address stated below, but you are not required to do so. If you file a written response, you

must attach a certificate stating when, how and on whom (including addresses) you served the response.

Mail or deliver your response so that it is received by the Clerk at least two business days before the

hearing. The address for the Clerk's Office is: U.S. Bankruptcy Court, Richard B. Russell Federal

Building, 75 Ted Turner Drive, SW, Room 1340, Atlanta GA 30303. You must also mail a copy of

your response to the undersigned at the address stated below.

        In the event a hearing cannot be held within thirty (30) days from the filing of said Motion, as

required by 11 U.S.C. Section 362, Movant, by and through counsel, waives this requirement and

agrees to the next earliest possible date, as evidenced by the signature below. If a final decision is not

rendered by the Court within sixty (60) days of the date of the request, Movant waives the requirement

that a final decision be issued within that period.

        The undersigned consents to the automatic stay remaining in effect with respect to Movant

until the court orders otherwise.

Date: March 10, 2021                                     Logs Legal Group, LLP

                                                         /s/ Lucretia L. Scruggs
                                                         Lucretia L. Scruggs
                                                         Georgia Bar No. 371008
                                                         211 Perimeter Center Parkway, NE
                                                         Suite 300
                                                         Atlanta, GA 30346
                                                         Phone: 770-220-2535
                                                         Fax: 770-220-2665
                                                         lscruggs@logs.com
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                        UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

 In Re:                                             CHAPTER 13

 NORMANDY MESHON HUFF                               CASE NO. 19-50672 - WLH
 a/k/a Normandy Huff
 a/k/a Normandy M. Huff,
                         Debtor.


 ALLY BANK, ITS SUCCESSORS OR
 ASSIGNS,
                                                    CONTESTED MATTER*
                               Movant,

 V.

 NORMANDY MESHON HUFF
 a/k/a Normandy Huff
 a/k/a Normandy M. Huff, Debtor
 NANCY J. WHALEY, Chapter 13 Trustee

                               Respondents.

                   MOTION FOR RELIEF FROM AUTOMATIC STAY


       Ally Bank (“Movant”), by and through its undersigned attorneys, moves the Court for an

Order granting relief from the automatic stay pursuant to 11 U.S.C. §362 and Bankruptcy Rule

4001 (a) and in support thereof would show:

1. This is a motion pursuant to Bankruptcy Rule 4001(a) for relief from the automatic stay

   provisions of Section 362(a) of the Bankruptcy Code.

2. Debtor filed this case on January 14, 2019.

3. The Debtor is indebted to the Movant in the amount of $30,211.28 on an installment sales

   contract for the purchase of a 2019 Toyota Rav4 automobile, VIN: JTMW1RFV7KD019803

   (the “Vehicle”). A true and correct copy of this Contract and the Certificate of Title,
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   evidencing Movant's first lien interest therein is attached to the Proof of Claim on file with this

   Court. Movant placed a value on the Vehicle at the time of filing of $25,100.00 based upon

   the NADA Guide.

4. As of March 3, 2021, the account is delinquent in the amount of $2,051.52 which represents

   payments due for December 2, 2020 through March 2, 2021 at $512.88 each. Movant is

   requesting that the estate’s interest in the Vehicle be abandoned as it is of inconsequential value

   and no benefit to the estate.

5. That Movant may be further entitled to recover, as part of its secured claim, its expenses,

   including a reasonable attorney's fee incurred in this case and for the bringing of this motion,

   to the extent that the Vehicle may have a market value exceeding the net outstanding balance

   due Movant on its claim.

6. That the Vehicle is collateral which can be easily moved, secreted, and damaged by the Debtor

   or others and may not now be covered by adequate collision damage and comprehensive

   insurance, thereby entitling Movant to an order expressly providing relief from the automatic

   stay and that such relief not be stayed for the fourteen (14) day period provided for under

   Bankruptcy Rule 4001 (a)(3).

   WHEREFORE, Movant prays that the automatic stay presently in effect pursuant to §362(d)

be lifted so as to permit Movant to exercise its rights pursuant to state law and the Contract; that

the estate’s interest in said property be abandoned; that Movant be permitted to establish its

deficiency claim, if any, and be permitted to file an amended proof of claim to reflect said

deficiency; that this Court expressly provide that said relief not be stayed as provided for under

Bankruptcy Rule 4001(a)(3); that Movant have and recover from the proceeds of the disposition
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of the Vehicle, its reasonable expenses, including an attorney's fee; and that Movant have such

other and further relief as is just.




Date: March 10, 2021                                 Logs Legal Group, LLP

                                                     /s/ Lucretia L. Scruggs
                                                     Lucretia L. Scruggs
                                                     Georgia Bar No. 371008
                                                     211 Perimeter Center Parkway, NE
                                                     Suite 300
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                                 CERTIFICATE OF SERVICE

       This is to certify that I have this day served a true and correct copy of the within Notice of

Assignment of Hearing and Motion for Relief from Automatic Stay filed in this bankruptcy matter

via electronic mail notice to parties, and their representatives, who are ECF Filers and Consent

Users, or by depositing a copy of same in the United States Mail, postage prepaid, all other

interested parties at the indicated addresses as follows:


Via CM/ECF Electronic Notice

E. L. Clark
ecfnotices@cw13.com

Nancy J. Whaley
Standing Chapter 13 Trustee
ecf@njwtrustee.com

Via First Class Mail, Postage Prepaid

Debtor:
Normandy Meshon Huff
1702 Westhaven Drive SW
Atlanta, GA 30311


                                                      Logs Legal Group, LLP

                                                      /s/ Lucretia L. Scruggs
                                                      Lucretia L. Scruggs
                                                      Georgia Bar No. 371008
                                                      211 Perimeter Center Parkway, NE
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                                                      Fax: 770-220-2665
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